Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 1 of 9
         Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 2 of 9




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                               Identification of JAMES ROE CLEARY

       On June 15, 2022, the FBI’s Washington Field Office (WFO) received an online tip that
JAMES ROE CLEARY was within the restricted area of the U.S. Capitol building on January 6,
2021. The tipster was interviewed telephonically and reported that he/she knew CLEARY
personally from work in the New Haven, Connecticut area, and that CLEARY had shared an image
with a group of people that was taken on January 6, 2021. That image showed CLEARY
underneath a window outside the U.S. Capitol building while another rioter was breaking the
window’s glass. During the interview, the tipster identified CLEARY in numerous images taken
on January 6, 2021, including the image below.




        Image 1: A tipster identified CLEARY from this image taken on January 6, 2021.

        FBI New Haven obtained a copy of CLEARY’s driver’s license and compared the driver’s
license image to video footage of rioters taken on January 6 from a location at the U.S. Capitol
building known as the “Tunnel”. FBI New Haven determined that the person in the driver’s license
image was the same person as the individual depicted in footage from the Tunnel. Agents also
compared images of CLEARY against the Sedition Hunters website and determined that CLEARY
is present on the website under the hashtag #littlebrownbeard.

        On June 16, 2023, CLEARY arrived at the police department in Waterford, Connecticut to
turn himself in, stating that he had been waiting to get arrested for his activities on January 6, 2021.
         Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 3 of 9




CLEARY acknowledged himself as the subject identified by Sedition Hunters as “little brown
beard.” CLEARY asked the Waterford police department to print out images from the Sedition
Hunters website, and he subsequently identified himself in the printouts of those images.




           Image 2: CLEARY identified himself in images from the Sedition Hunters website,
                               including the image above.
        Agents from FBI New Haven interviewed CLEARY at the Waterford police department.
During the interview, CLEARY stated that he had traveled to Washington, D.C. with his wife in
the early morning on January 6, 2021. In the afternoon, CLEARY was present on the Capitol’s
west front. He stated that the crowd was initially peaceful, except for a couple of individuals
breaking windows. He also stated that he observed police officers in the Tunnel who were being
violent towards people in the crowd. He stated that while he was trying to pull a woman from off
the ground, he observed a wooden baton. He picked up the baton and passed it back to the crowd,
and then he grabbed the woman to pull her away from the Tunnel. CLEARY admitted to pushing
a man carrying camera equipment who he claimed had been riling up the crowd.
                          CLEARY’S Involvement in the Events of January 6

         FBI New Haven reviewed open source and body worn camera footage from January 6,
2021. The footage showed that at roughly 4:20 p.m. on January 6, 2021, CLEARY was near the
opening of the Tunnel on the Lower West Terrace during a period of intense fighting between
rioters and police. CLEARY stood immediately adjacent to the Capitol building, a few paces north
of the Tunnel entrance. CLEARY moved towards the mouth of the Tunnel as intense physical
clashes continued between police guarding the Tunnel entrance and rioters trying to force their
way through the entrance. By approximately 4:26 p.m., CLEARY positioned himself at the mouth
of the Tunnel, where he quickly moved his body towards the interior of the Tunnel and made a
swiping motion at the head of a police officer.
        Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 4 of 9




 Images 3-4: CLEARY made a swiping motion towards the head of a police officer guarding the
                                        Tunnel.

        Police body worn camera shows that roughly ten second later, CLEARY helped to pull a
rioter out of the tunnel.




                      Image 5: CLEARY pulled a rioter from the Tunnel.

       CLEARY then returned to the mouth of the Tunnel and made another swiping or
grabbing gesture with his hand towards police officers inside the Tunnel.
         Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 5 of 9




   Image 6: While MPD Officer A.W. was lying face up on the ground, his body worn camera
                   captured Cleary returning to the mouth of the Tunnel.

        At roughly 4:27 p.m., Metropolitan Police Department (MPD) Officer A.W. was pushed
to the ground, and rioters attempted to pull the officer’s body out of the Tunnel and into the mob.
CLEARY was filmed on body worn camera clambering across the bodies of a fallen rioter and
Officer A.W., and grabbing a baton that was on the ground next to the officer.




Image 7-8: CLEARY leaned across the bodies of a police officer and a rioter to grab a baton as
                other rioters tried to pull the officer into the violent mob.
        Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 6 of 9




        CLEARY quickly handed the baton off to another rioter in the mob and then returned to
the front of the Tunnel.




                    Image 9: CLEARY handed off a baton to another rioter.

        At roughly 4:28 p.m., CLEARY helped pull a second rioter out of the Tunnel who had
been filming and become trapped.




                     Image 10: CLEARY pulled a rioter out of the Tunnel.


        CLEARY then moved north alongside the Capitol building and stood beneath a window as
rioters began to break the glass panes. (See Image 1 above) Open source video and images showed
that CLEARY remained near the window and watched as rioters passed furniture through the
broken window to other rioters closer to the mouth of the Tunnel.
         Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 7 of 9




  Image 11: CLEARY stood near the Tunnel entrance as rioters moved furniture from an office
                                   towards the Tunnel.

        While standing near the broken window, CLEARY grabbed and shoved an individual
carrying camera equipment. Open source video showed CLEARY leaving the immediate area
shortly afterwards.




             Image 12: CLEARY shoved an individual carrying camera equipment.


                                               CHARGES

       Your affiant submits there is probable cause to believe that CLEARY violated 18 U.S.C.
§ 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
         Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 8 of 9




in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.

        Your affiant submits there is probable cause to believe that CLEARY violated 18 U.S.C.
§ 113(a)(4) and (5), which makes it unlawful, within the special and maritime jurisdiction of the
United States, (4) to commit an assault by striking, beating, or wounding; and (5) to commit a
simple assault; and aiding and abetting in such crimes. The U.S. Capitol and the U.S. Capitol
grounds constitute the “territorial jurisdiction” of the United States as “lands reserved or acquired
for the use of the United States” and under its “exclusive or concurrent jurisdiction.” 18 U.S.C.
§ 7(3).

        Your affiant submits that there is probable cause to believe that CLEARY violated 18
U.S.C. § 1752(a)(1), (2) and (4) which makes it a crime to (1) knowingly enter or remain in any
restricted building or grounds without lawful authority to do so; (2) knowingly, and with intent to
impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions; or attempt or conspire to do so; and (4) knowingly engage in any act
of physical violence against any person or property in any restricted building or grounds, or attempt
or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.
Case 1:24-mj-00312-ZMF Document 1-1 Filed 10/02/24 Page 9 of 9




                                 Zia M.            Digitally signed by
                                                   Zia M. Faruqui

                                 Faruqui           Date: 2024.10.02
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